Case 2:21-cv-04405-RGK-MAR Document 112-12 Filed 07/19/22 Page 1 of 6 Page ID
                                 #:1805




              Exhibit D
               to Declaration of Robert Frommer




                                Exhibit D
                                  280
Case 2:21-cv-04405-RGK-MAR Document 112-12 Filed 07/19/22 Page 2 of 6 Page ID
                                 #:1806




                                Exhibit D
                                  281
Case 2:21-cv-04405-RGK-MAR Document 112-12 Filed 07/19/22 Page 3 of 6 Page ID
                                 #:1807




                                Exhibit D
                                  282
Case 2:21-cv-04405-RGK-MAR Document 112-12 Filed 07/19/22 Page 4 of 6 Page ID
                                 #:1808




                                Exhibit D
                                  283
Case 2:21-cv-04405-RGK-MAR Document 112-12 Filed 07/19/22 Page 5 of 6 Page ID
                                 #:1809




                                Exhibit D
                                  284
Case 2:21-cv-04405-RGK-MAR Document 112-12 Filed 07/19/22 Page 6 of 6 Page ID
                                 #:1810




                                Exhibit D
                                  285
